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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-064 JAM
12                                Plaintiff,             STIPULATION CONTINUING FILING AND
                                                         HEARING DATES ON DEFENDANT’S
13                          v.                           DISCOVERY MOTION; ORDER
14   GARY ROBERTS,                                       DATE: February 26, 2018
                                                         TIME: 2:00 p.m.
15                                Defendant.             COURT: Hon. Kendall J. Newman
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous motion, this matter was set for hearing on February 26, 2018. Dkt. #91.

21          2.      By this stipulation, the parties now move to continue the discovery hearing to March 12,

22 2018 at 2:00 PM before Magistrate Judge Barnes. In addition, they stipulate that the government’s

23 response to the defendant’s motion will be due on February 26, 2018, and that the defendant’s reply will

24 be due on March 5, 2018.

25          3.      This continuance will allow the government attorney to meet with the case agent and to

26 continue to investigate the availability of the discovery items that the defense has requested.

27          4.      The defendant is out of custody. Dkt. #67.

28          5.      On May 4, 2017, the Grand Jury returned an indictment charging him with conspiring to


      STIP. CONTINUING FILING AND HEARING DATES ON
                                                         1
      DEFENDANT’S DISCOVERY MOTION; [PROPOSED] ORDER
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 1 distribute and to possess with intent to distribute methamphetamine, a violation of 21 U.S.C. §§ 846,

 2 841(a)(1). The Grand Jury also charged the defendant with possessing with intent to distribute

 3 methamphetamine, a violation of 21 U.S.C. § 841(a)(1). Dkt. #46.

 4          6.      The matter’s next status conference is set for February 13, 2018 before the Honorable

 5 John A. Mendez. Dkt. #83. Earlier today, the parties submitted a stipulation and proposed order to

 6 move that status conference to April 17, 2018. Dkt. #93.

 7          IT IS SO STIPULATED.

 8
     Dated: February 9, 2018                                McGREGOR W. SCOTT
 9                                                          United States Attorney
10
                                                            /s/ AMANDA BECK
11                                                          AMANDA BECK
                                                            Assistant United States Attorney
12

13
     Dated: February 9, 2018                                /s/ ETAN ZAITSU
14                                                          ETAN ZAITSU
15                                                          Counsel for Defendant
                                                            GARY ROBERTS
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18

19                                         FINDINGS AND ORDER

20          IT IS SO FOUND AND ORDERED.

21          Dated: February 9, 2018

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      STIP. CONTINUING FILING AND HEARING DATES ON
                                                        2
      DEFENDANT’S DISCOVERY MOTION; [PROPOSED] ORDER
